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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 KAREN SAUNDERS,                                  )
               Plaintiff,                         )
                                                  )    Case No. 1:17-cv-00335
        v.                                        )
                                                  )
 DYCK O’NEAL, INC.,                               )    Hon. Judge Gordon J. Quist
                 Defendant.                       )    Hon. Mag. Judge Ray Kent

                                       STATUS REPORT

       Plaintiff reports that the parties have continued to meet and confer as to the data

production and sampling issues discussed in court last week, but that their original estimate as to

how long the process might take was overly optimistic, particularly given the time of year.

       Plaintiff respectfully requests that the Court extend the date within which they shall agree

upon a data production protocol to January 25, 2019.



Dated: December 20, 2018                              Respectfully submitted,

                                                      KAREN SAUNDERS

                                                      By: s/ Alexander H. Burke

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                                    PROOF OF SERVICE

       I hereby certify that, on December 20, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                             s/ Alexander H. Burke




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